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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9
      UNITED STATES OF AMERICA,

10
                           Plaintiff,
                                                               Case No. CR15-348RSL
11
                    v.

12
      MARLEN RAVELO,                                           ORDER DENYING MOTION TO
                                                               CONSIDER SENTENCE
13
                           Defendant.                          REDUCTION

14
            This matter comes before the Court on defendant Marlen Ravelo’s “Motion to Consider
15
     Sentence Reduction,” Dkt. # 627. Defendant asks the Court to reduce her sentence from 48
16
     months to 36–42 months in order to align her sentence with that of her co-defendant, Tracy
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     Raley. While the Court commends defendant for her participation in the drug treatment program
18
     at the Federal Correctional Institution, it lacks the authority to modify defendant’s sentence as
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     requested.
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21
            DATED this 19th day of May, 2017.
22

23
                                               A
24                                             Robert S. Lasnik
                                               United States District Judge
25

26

27
     ORDER DENYING MOTION TO
28   CONSIDER SENTENCE REDUCTION - 1
